          Case 3:21-cv-01506-KAD Document 24 Filed 06/07/22 Page 1 of 1



                         HON. KARI A. DOOLEY’S STANDING ORDER
                        ON JOINT TRIAL MEMORANDA IN CIVIL CASES

The parties’ Joint Trial Memorandum in Civil Cases shall contain the following:

1. A proposed joint and non-argumentative description of the case, including the names of the
   parties, the nature of the plaintiff’s allegations and the defendant’s position with respect thereto.
   In cases being tried to a jury, the description of the case should be suitable for reading to the
   jury panel.

2. A list of outstanding motions, listed by ECF No., date, party, and title, which require adjudication
   before the trial. The parties shall further indicate whether oral argument is requested or the
   motion can be taken on the papers.

3. A list of the operative pleadings by ECF No., date, party, and title.

4. A list of all witnesses reasonably expected to be called by each party, including the anticipated
   sequence in which the witnesses will be called and the name and relationship of each witness
   to the case (e.g., party, fact witness, expert). Any scheduling issues with respect to any witness
   should be noted as well. The plaintiff’s rebuttal witnesses need not be listed.

5. If a party anticipates the use of deposition testimony in lieu of live testimony, the identity of the
   witness(es) and the portions of the depositions to be offered (by page and line) should be
   included as well. Cross designations must be included as well as objections by either party to
   the proposed testimony and the basis for the objection.

6. A list by each party of the Exhibits each party reasonably expects to offer at trial. The list should
   contain a brief identifying description of the exhibit and whether the opposing party objects to
   its admission and the basis for the objection. Counsel shall confer to mark exhibits as full or for
   identification prior to the trial. The plaintiff’s exhibits shall be numbered sequentially beginning
   with the Number One (1). The defendant’s exhibits shall be numbered sequentially beginning
   with the Number Five Hundred (500). Where there are multiple plaintiffs or defendants, counsel
   shall coordinate exhibit identification to ensure that exhibits and numbers are not duplicated.
   Exhibits will only be entered into evidence as full exhibits at the direction of the Court at trial.

7. (Jury Trials only) The Court uses the Jury Evidence Recording System (JERS) during jury trials.
   The parties shall review and comply with the protocols for using JERS, which are available at
   http://www.ctd.uscourts.gov/jury-evidence-recording-system-jers.

8. (Jury Trials only) Proposed Voir Dire questions for the venire panel.

9. (Jury Trials only) Proposed Jury Instructions (which should also be emailed in Word format to
   Chambers).

10. Counsel must indicate whether they will require the use of courtroom technology during the trial.
    If such technology will be required, counsel shall affirm that they will submit the “Request for
    Courtroom     Technology”       form    to   the     Courtroom     Deputy,      Kristen  Gould
    (Kristen_Gould@ctd.uscourts.gov), at least ten days prior to the commencement of evidence.
    Failure to submit the form in a timely manner may preclude the use of such technology.

So Ordered.
